Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 1 of 9 PageID #: 17692




                          Exhibit 2
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 2 of 9 PageID #: 17693


                                  DEPARTMENT OF THE TREA
                                           WASHINGTOl-           . -   .   -ZZQ
     w/




          MUL-651983

                                          SETTLEMENT AGREEMENT

                 This Settlement Agreement (the "Agreement") is made by and between the U.S.
          Department of the Treasury's Office of Foreign Assets Control and the Royal Bank of Scotland
          plc.

          I.     PARTIES

                  1.      The Office of Foreign Assets Control ("OFAC") of the U.S. Department of the
          Treasury administers and enforces economic sanctions against targeted foreign countries,
          regimes, terrorists, intemational narcotics traffickers, and persons engaged in activities related to
          the proliferation of weapons of mass destruction, among others. OFAC acts under Presidential
          national emergency authorities, as well as authority granted by specific legislation, to impose
          controls on transactions andfi'eezeassets under U.S. jurisdiction.

                 2.    The Royal Bank of Scotland plc ("RBS") is a subsidiary ofthe Royal Bank of
          Scotland Group plc and is registered and organized under the laws of England and Wales.

          U.     FACTUAL STATEMENT

                  3.     In 1997, National Westminster Bank ('TvlatWest") - which RBS acquired in
          March 2000 - began acting as a correspondent bank for Bank Melli Iran ("Bank Melli") and its
          wholly-owned UK subsidiary, Melli Bank Plc ("Melli Plc"). As part of its operations in serving
          as a correspondent bank, RBS processed U.S. Dollar ("USD") transactions for and on behalf of
          Bank Melli and Melli Plc and these banks' customers. NatWest (and later RBS) conducted USD
          payments for the Iranian banks by sending Society for Worldvwde Interbank Financial
          Telecommunication ("SWIFT") MT103 payment messages directly to non-U.S. beneficiary
          banks, and SWIFT MT202 payment messages (or "cover payments") to U.S. clearing banks.
          Although the payment messages sent to non-U.S. beneficiary banks included complete payment
          information, including the names of the Iranian banks and customers, the payment instructions
          sent to U.S.financialinstitutions did not include any references to the Iranian parties.

                  4.      Around the time it acquired the Bank MeUi relationships, NatWest sought legal
          guidancefi-oma U.S. lawfirmregarding the applicability of the then-existing U-Tum general
          license for payments RBS was sending on behalf of its Iranian customers. The bank provided
          the law firm with a series of proposal transactions involving payments originated by Bank Melli
          or Bank Melli customers that were destined for non-U.S. beneficiary banks, and requested
          guidance as to whether such payments were permissible. In a legal opinion dated Jime 30, 1997,
          the U.S. law firm provided guidance to NatWest that the transactions did not appear to violate
          U.S. sanctions regulations, particularly because "no U.S. bank would credit or debit an account
          of an Iranian person or entity." The law firm's description ofthe payments stated that Bank
          Melli would be listed as the originator of the transactions, which prompted NatWest to seek an
          updated opinion as to whether the guidance remained valid if the names of the Iranian parties
          were not included in the payment instructions sent to the United States. While the law firm
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 3 of 9 PageID #: 17694




         Royal Bank of Scotland plc                                                                        2
         MUL-651983
         stated in a letter to NatWest that its initial legal guidance remained valid, it appears to have based
         this assessment on an understanding that the bank processed all USD transfers in the same
         manner.

                 5.     In early-to-mid 2002, RBS elected to cease providing settlement clearing for
         Melli Plc "due to the heavy operational burden" placed on the bank's payments center, as well as
         various settlement and operationalrisks,and closed the Iranim bank's accounts. In November
         2002, supposedly at the advice of Melli Plc, Bank Melli requested the closure of its accounts
         with RBS. The closure ofthe Bank Melli and Melli Plc accounts eliminated RBS' ability to
         process USD payments on behalf of its clients to Iranian beneficiaries through intemal book
         transfers. The Senior Relationship Manager - Middle East ("SRM - ME"), who managed RBS'
         correspondent banking relationship for Iran, subsequently sent a message on November 13,
         2002, to a Relationship Officer and a Relationship Manager in Global Banking Services ("GBS")
         (which became part of Global Transaction Services ("GTS")) recommending the bank
         temporarily effect anyfiitureIranian-related payments in Sterling rather than USD. Within a few
         weeks, however, several of RBS' customers began to complain about the bank's unwillingness to
         send USD payments to Iran.

                6.      The problem presented by the bank's unwillingness to send USD payments to Iran
         appears to have been compounded by the introduction of a new payment processing platform,
         known as ProPay, which was designed to reduce the amount of manual processing within RBS.
         As part ofthe system's automated process, after a payment operator entered all of the
         information required to send a SWIFT MTl03 transfer, a SWIFT MT202 cover payment was
         automatically generated and pre-populated based on the information contained in the SWFT
         MT103.

                 7.      While the SRM - ME acknowledged that the bank could process Iranian-related
         transactions via cover payments and understood they were valid pursuant to the U-Tum general
         license, he warned that U.S.financialimtitutions would reject any transactions referencing Iran
         "[because] their systems will pick up the name in the message and reject the payment instraction,
         rather than initiate an enquiry [sic] as to whether or not this is a legal OFAC transaction...." In a
         November 27,2002, email to a Senior Credit Manager, the then-Head of Asia, Middle East and
         Afiica, and others, the SRE - ME noted: "As we no longer have a Vostro [for Bank Melli], we
         would need to place cover via the US. This is not possible for us at the moment as our Payments
         Systems cannot be manipulated to remove all trace of beneficiary bank [sic], and will identify the
         Iranian bank in our MT202, so the payment will simply be bounced back on to our Nostro with
         [a U.S.financialinstitution]."

                8.     Beginning in late 2002, several employees within RBS responsible for m^iaging
        and/or overseeing certain global correspondent banking relationships - including the SRM - ME
        and a Senior Manager - Trade, with copies to the Head of Credit Risk for Correspondent
        Banking - worked with two Senior Project Analysts in Change Management, Payment
        Operations who were involved in the implementation ofthe ProPay system, in order to
        manipulate outbound payment messages involving Iran. Over the next several months, the group
        developed a procedure within ProPay that would allow RBS to send USD payments to Iran
        and/or Iranian banks through a third-country bank that would omit information about the Iranian
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 4 of 9 PageID #: 17695




        Royal Bank of Scotland plc                                                                     3
        MUL-651983
        nexus in any cover payments sent to U.S.financialinstitutions. According to this procedure,
        RBS payment operators would list the actual name ofthe Iranian bank - rather than the Iranian
        bank's Bank Identifier Code ("BIC") - in the beneficiary bankfieldof the payment instmctions
        with a country code of Great Britain rather than Iran. This method allowed the non-U.S. bank to
        identify the ultimate Iranian beneficiary bank for the paymentfi-omthe information contained in
        the MTI03. The manner in which this information was styled, however, prevented the bank's
        payment system from automatically including references to the Iranian bank or Iran in related
        cover messages and resulted in the data being omittedfi*ominstractions sent to U.S. clearing
        banks.

                9.      In order to assist payment operators in effecting USD payments to Iranian banks
        through ProPay, the above-mentioned procedures were memorialized into written instractions.
        These instractions stated that payments containing a reference to any potential sanctions target in
        ProPay would generate a waming or block, and instmcted the payment operators, upon
        triggering a waming or block, to contact a member of GBS to determine whether the transaction
        was permissible. For transactions the payment operators were "advised to process," the
        instractions included the following message:

               IMPORTANT: FOR ALL US DOLLAR PAYMENTS TO A COUNTRY SUBJECT TO
               US SANCTIONS, A PAYMENT MESSAGE CANNOT CONTAIN ANY OF THE
               FOLLOWING: 1. The sanctioned country name. 2. Any name designated on the Office
               of Foreign Assets Control (OFAC) restricted list, which can encompass a bank name,
               remitter or beneficiary.

                10.     The procedures contained detailed instmctions outlining how payment operators
        should enter information in order to process Iranian-related payments without mentioning the
        name of the Iranian bank in payment messages sent to the United States. While the precise
        deployment date ofthe ProPay instmctions is not clear, they were included in the bank's
        Business Support Manual ("BSM") and posted on RBS' intranet in December 2003, and
        reportedly distributed to Intemational Banking Center employees on an ad hoc basis during
        2003.

                11.    While the written ProPay instmctions included a message indicating that the
        payment method should only be utilized for certain Iranian banks and did not apply to other
        payments impUcating U.S. sanctions, RBS employees appear to have utilized these procedures in
        order to process USD payments involving other U.S.-sanctioned countries. For example, a
        memorandum dated March 14, 2003,fi-oma Senior Relationship Manager to "PA Investigations"
        and copying the Head of Risk Management for GBS, discussed nearly identical instmctions for
        processing USD payments involving Libya. The memorandum indicated GBS, "as a matter of
        routine, advises that the name ofthe Libyan bank and beneficiary is not to be quoted on any
        SWIFT messages in order to avoid blocking in the US under OFACs sanctions." In addition, a
        process for sending USD payments to several Libyan state-owned banks, including Jamahiriya
        Bank, Libyan Arab Foreign Bank, National Commercial Bank, Sahara Bank, Umma Bank, and
        Gumhouria Bank, was memorialized in written instmctions similar to those for Iranian payments.
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 5 of 9 PageID #: 17696




         Royal Bank of Scotland plc                                                                  4
         MUL-651983
                 12.    Several members of RBS management responsible for managing and/or
         overseeing operations in the bank's Global Correspondent Banking and Payment Operations
         units continued to provide, or were aware of, various instractions advising payment operators
         how to process USD payments involvmg sanctioned countries. For example, in June 2003, one
         of the managers issued an e-mail to all Payment Processing Center Heads and stated: "Please
         take care when making [payments] fromfreeformat SWIFT instractions to ensure that there is
         no wording within the message that could potentially lead to the payment being stopped e.g.
         reference to a sanctioned coxmtry i.e. Sudan, Iraq."

                   13.   In November 2003, the Group Executive Management Conunittee revised the
         RBSG-wide policy statement on Sanctions and Terrorist Financing. The poUcy included an
         explicit requirement regarding OFAC and stated, "US regulations require US$ payments cleared
         through the US to be checked against the lists of suspected persons issued by the OFAC. Group
         businesses with US relationships and USS payments must comply with US regulations." Despite
         the bank's policy, various units within RBS continued to process payments to Iran and other
         U.S.-sanctioned countries by using non-transparent payment practices, including those described
         above. Between 2004 and 2007, for example, RBS established a stmcture within ProPay for one
         of its customers with a wholly-owned subsidiary in Sudan to automatically populate SWIFT
         payment messages destined for Sudanese banks. The stmcture within ProPay allowed RBS to
         use Field 59 (the beneficiaryfield)of a SWIFT message to reference the sanctioned country
         bank, and Field 72 (bank-to-bank informationfield)in order to provide further routing
         institictions. This process ensured the name ofthe Sudanese bank involved in the ti-ansaction
         was not referenced in the MT202 SWIFT cover payment sent to the U.S.financialinstitution.

                 14.    Beginning in early 2006, RBS implemented a series of policies and procedures
        that reduced the bank's USD business with Iran and other U.S.-sanctioned countries. In May
        2006, the Group Head of AML recommended RBS' Group Risk Committee approve the addition
        of an OFAC-specific appendix to the bank's Sanctions and Terrorist Financing policy. The
        policy, which listed Sudan, Iran, and Cuba as examples of countries subject to U.S. sanctions,
        stated: "[There] are certain jurisdictions that we cannot make USS payments to as they would be
        frozen by the correspondent US institution... It is the responsibility ofthe Divisional Risk
        Functions to ensure that all of their relevant business and payment areas are aware of the
        restrictions." Although Group Risk Committee approved the policy shortly thereafter, it was not
        fiilly implemented imtil 2007 due to delays with the inh-oduction of a newfilteringplatform. On
        December 21,2006, the Chief Executive of Global Banking and Markets sent an email to
        members of RBS' Money Laundering Prevention Unit stating the Group Chief Executive's
        Advisory Group had adopted a poUcy of "no US Dollar business with Iranian counter-parties,"
        although this was later clarified to exclude U-Tum payments.

               15.     Despite the bank's pohcies, RBS continued to process USD payments through the
        United States in apparent violation ofthe Burmese Sanctions Regulations, the Cuban Assets
        Control Regulations, the Iranian Transactions Regulations, and the Sudanese Sanctions
        Regulations until late 2009. While the bank's investigation did not identify written instractions
        for countries other than Iran and Libya, the ProPay instmctions referenced above were posted on
        the bank's mtranet until October 2008, incorporated into the BSM that was distributed to the
        RBS' Payment Processing Centers, and distiibuted to Intemational Banking Center employees
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 6 of 9 PageID #: 17697




        Royal Bank of Scotland plc                                                                       5
        MUL-651983
        on an ad hoc basis as early as 2003. Similar routing and keying methods to those outiined in the
        ProPay instractions were used for certain payments involving Sudan, and to a more limited
        extent involving Myanmar and Cuba.

               16. RBS appears to have processed transactions in violation of the Tom Lantos Block
        Burmese JADE (Junta's Anti-Democratic Efforts) Act of 2008 (Pub. L. 110-286) ("JADE Act")
        and/or Executive Orders and/or regulations promulgated pursuant to, inter alia, the International
        Emergency Economic Powers Act ("lEEPA"), 50 U.S.C. §§ 1701-06, and the Trading With the
        Enemy Act ("TWEA"), 50 U.S.C. App. §§1-44.

                 17. From on or about July 22, 2005, to on or about July 9, 2009, RBS processed 46
        electronic fundstiransfersin the aggregate amount of $375,946, through financial institutions
        located in the United States in apparent violation ofthe prohibitions against (i) the exportation or
        reexportation offinancialservices to Burmafromthe United States, 31 CF.R. § 537.202; and/or
        (ii) dealing in property and interests in property that "come within the United States" or that
        "comes into the possession or control of a United States person" of persons blocked pursuant to
        31 C.F.R. § 537.201, Executive Order 13448, and/or the JADE Act.

                 18. From on or about September 6,2005, to on or about November 6,2009, RBS
        processed 38 electi-onic funds transfers in the aggregate amount of $795,345 through financial
        institutions located in the United States in apparent violation ofthe prohibitions against the
        exportation or reexportation of servicesfromthe United States to Iran, 31 CF.R. § 560.204.

                 19. From on or about July 1, 2005, to on or about August 12,2009, RBS processed
        326 electronicfimdstransfers in the aggregate amount of $32,649,380 through financial
        institutions located in the United States in apparent violation ofthe prohibitions against (i) the
        exportation or reexportation of servicesfromthe United States to Sudan, 31 C.F.R § 538.205;
        and/or (ii) dealing in property aad interests in property ofthe Government of Sudan that "come
        within the United States," 31 C.F.R. § 538.201.

           • 20. From on or about August 19,2005, to on or about October 16,2009, RBS
        processed 24 electronic fiinds transfers in which Cuba or a Cuban national had an interest, in the
        aggregate amount of $290,206, throughfinancialinstitutions located in the United States in
        apparent violation ofthe prohibition on dealing in property in which Cuba or a Cuban national
        has an interest, 31 C.F.R. § 515.201.

                21.   The apparent violations described above were voluntarily self-disclosed to OFAC
        within the meaning of OFAC's Economic Sanctions Enforcement Guidelines (the "Guidelines").
        See 31 C.F.R. part 501, App A.

                22.     The apparent violations by RBS described above undermined U.S. national
        security, foreign policy, and other objectives of U.S. sanctions programs.

               23.    RBS has taken remedial action by prohibiting USD payments to certain
        sanctioned countiies; engaging in a comprehensive efforttoaddress all sanctions related issues
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 7 of 9 PageID #: 17698


    Royal Bank of Scotland plc                                                                         6
    MUL-651983
    across its business units; and initiated an effort in 2009 to review its entire customer base to
    identify relationships that should be terminated based on its policy.

            24.     RBS cooperated with OFAC by conducting an historical review and identifying in
    writing transactions that appeared to violate OFAC sanctions regulations; providing
    comprehensive, well-organized, and detailed information regarding the apparent violations for
    OFAC's analysis; signing a tolling agreement with OFAC and subsequently agreeing to extend
    the agreement on multiple occasions; and by responding promptly to requests for information.

            25.    OFAC has not issued a penalty notice or Finding of Violation against RBS in the
    five years preceding the apparent violations.

    III.   TERMS OF SETTLEMENT

           IT IS HEREBY AGREED by OFAC and RBS that:

           26.     RBS has terminated the conduct outlined in paragraphs 3 through 15 above and
    RBS has put in place, and agreed to maintain, policies and procedures that prohibit, and are
    designed to minimize the risk of the recurrence of, similar conduct in the future.

           27.     RBS agrees to provide OFAC with copies of all submissions to the Board of
    Governors of the Federal Reserve System ("Board of Govemors") in the same form provided to
    the Board of Governors pursuant to the "Order to Cease and Desist Issued upon Consent
    Pursuant to the Federal Deposit Insurance Act, as Amended," to RBS on December 11, 2013, by
    the Board of Governors (Docket No. 13-019-B-FBl and 13-019-B-FB2) relating to the OFAC
    compliance review. It is understood that the United Kingdom's Financial Conduct Authority
    ("FCA"), as RBS' home country supervisor for conduct issues, is assisting the Board of
    Governors in the supervision of its Order in keeping with the FCA's functions under the United
    Kingdom's Financial Services and Markets Act 2000.

            28.     Without this Agreement constituting an admission or denial by RBS of any
   allegation made or implied by OFAC in connection with this matter, and solely for the purpose
   of settling this matter without a final agency finding that a violation has occurred, RBS agrees to
   a settlement in the amount of $33,122,307 arising out of the apparent violations by RBS of the
   JADE Act, lEEFA, TWEA, the Executive Orders, and the Regulations described in paragraphs
   17-20 of this Agreement. RBS' obligation to OFAC to pay such settlement amount shall be
   deemed satisfied by its payment of a greater or equal amount in satisfaction of penalties assessed
   by the Board of Governors for the same pattern of conduct.

           29.     Should OFAC determine, in the reasonable exercise of its discretion, that RBS has
   willfully and materially breached its obligations under paragraphs 27 or 28 of this Agreement,
   OFAC shall provide written notice to RBS of the alleged breach and provide RBS with 30 days
   from the date of RBS's receipt of such notice, or longer as determined by OFAC, to demonstrate
   that no willful and material breach has occurred or that any breach has been cured. In the event
   that OFAC determines that a willful and material breach of this Agreement has occurred, OFAC
   will provide notice to RBS of its determination, and this Agreement shall be null and void, and
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 8 of 9 PageID #: 17699




        Royal Bank of Scotland plc                                                                       7
        MUL-651983
        tiie statute of limitations applying to activity occurring on or after July 1,2005, shall be deemed
        tolled until a date 180 days following RBS' receipt of notice of OFAC's determination that a
        breach ofthe Agreement has occurred.

                 30.     OFAC agrees that, as ofthe date that RBS satisfies die obligations set forth in
        paragraphs 27 through 28 above, OFAC will release and forever discharge RBS from any and all
        civil liability under the legal authorities that OFAC administeis, in connection with the apparent
        violations described in paragraphs 17-20 ofthis Agreement.

               31.    RBS waives any claim by or on behalf of RBS, whether asserted or unasserted,
        against OFAC, the U.S. Department of the Treasury, and/or its officials and employees arising
        out ofthe facts givingriseto this Agreement, including but not limited to OFAC's investigation
        ofthe apparent violations and any possible legal objection to this Agreement at anyfiituredate.

        IV.    MISCELLANEOUS PROVISIONS

                32.    Except for the apparent violations described in paragraphs 17 through 20 above,
        the provisions ofthis Agreement shall not bar, estop, or otiierwise prevent OFACfromtaking
        any other action affecting RBS with respect to any and all matters, including but not limited to,
        any violations or apparent violations occurring after the dates ofthe conduct described herein.
        The provisions of this Agreement shall not bar, estop, or otherwise prevent other U.S. federal,
        state, or county officialsfromtaking any other action affecting RBS.

               3 3.     Each provision of this Agreement shall remain effective and enforceable
        according to the laws of the United States of America until stayed, modified, terminated, or
        suspended by OFAC.

               34. No amendment to the provisions of this Agreement shall be effective unless
        executed in writing by OFAC and by RBS.

                3 5. The provisions of this Agreement shall be binding on RBS and its successors and
        assigns. To the extent RBS' comphance with this Agreement requires it, RBS agrees to use best
        efforts to ensure that all entities within RBS comply with the requirements and obligations set
        forth in this Agreement, to the fiill extent permissible under locally applicable laws and
        regulations, and the instmctions of local regulatory agencies.

                36. No representations, either oral or written, except those provisions as set forth
        herein, were made to induce any of the parties to agree to the provisions as set forth herein.

                37.     This Agreement consists of 8 pages and expresses the complete understanding of
        OFAC and RBS regarding resolution ofthe apparent violations arisingfromor related to the
        apparent violations described in paragraphs 17 through 20 above. No other agreements, oral or
        written, exist between OFAC and RBS regarding resolution ofthis matter.

                38.    OFAC, in its sole discretion, may post on OFAC's website this entire Agreement
        ortiiefacts set forth in paragraphs 3 tiirou^ 25 oftiiisAgreement, including the identity of any
        entity involved, the satisfied settlement amoimt, and a brief description of the apparent
Case 1:05-cv-04622-DLI-RML Document 400-2 Filed 05/23/18 Page 9 of 9 PageID #: 17700




         Royal Bank of Scotland plc                                                                    8
         MUL-651983
         violations. OFAC also may issue a press release including this information, and any other
         information it deems appropriate in its sole discretion.

                39.     Use of facsimile signatures shall not delay the approval and unplementation of the
         terms ofthis Agreement. In the event any party to this Agrrement provides a facsimile
         signature, the party shall substitute the facsimile with an original signature. The Agreement may
         be signed in multiple counterparts, which together shall constitute the Apeement. The effective
         date ofthe Apeement shall be the latest date of execution.

                40.    All communications regarding this Agreement shall be addressed to:

                RBS plc                                     Office of Foreign Assets Confrol
                36 St Andrew Square                         U.S. Department of the Treasury
                Edinburgh, EH2 2YB                          Attn. Sanctions Comphance & Evaluation
                United Kingdom                              1500 Pennsylvania Avenue, N.W., Annex
                                                            Washington, DC 20220

         AGREED:

         / i S """""                                             dmt^£l^
                                                                j:^t£.

        Oms Campbell                                        AclaniXSzubiii ~
        RBS' Duly Authorized Represenfative                 Director
                                                            Office of Foreign Assets Control


        DATED: f o / m / f ^                                DATED:
